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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

MATTHEW L. GAETZ II                        COMPLAINT FOR
   Plaintiff                              DECLARATORY AND
                                          INJUNCTIVE RELIEF
v.

UNITED STATES HOUSE OF                     Civil Action No:     24-cv-3584
REPRESENTATIVES COMMITTEE
ON ETHICS, and MICHAEL GUEST,
in his official capacity as Chairman
of the House Committee on Ethics,
    Defendants.


      COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

      Plaintiff Matthew L. Gaetz II ("Plaintiff"), by and through his undersigned

counsel, brings this action against Defendants United States House of

Representatives Committee on Ethics (the "Committee") and Michael Guest, in his

official capacity as Chairman of the Committee, and alleges as follows:

                            NATURE OF THE ACTION

      This action challenges the Committee's unconstitutional and ultra vires

attempt to exercise jurisdiction over a private citizen through the threatened

release of an investigative report containing potentially defamatory allegations, in

violation of the Committee's own rules, House Rules, the Due Process Clause, and

the Privacy Act of 1974.

      The Plaintiff was a member of Congress from January 3, 2017 – November

13, 2024. During a portion of that time, Defendants began an investigation related

to previously unsubstantiated allegations of misconduct. After Plaintiff ’s
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resignation from Congress, Defendants improperly continued to act on its

investigation, and apparently voted to publicly release reports and/or investigative

materials related to Plaintiff without proper notice or disclosure to Plaintiff. On

December 22, 2024, the news-media reported that Defendants intends to release

information related to Plaintiff ’s investigation as early as 9:00am EST. The

Committee's apparent intention to release its report after explicitly acknowledging

it lacks jurisdiction over former members, its failure to follow constitutional notions

of due process, and failure to adhere to its own procedural rules and precedent

represents an unprecedented overreach that threatens fundamental constitutional

rights and established procedural protections.

                   JURISDICTION, STANDING, AND VENUE

     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 as this

action arises under the Constitution and laws of the United States.

     Plaintiff has standing to bring this action despite his status as a former

Member of Congress. The Supreme Court's decision in Powell v. McCormack, 395

U.S. 486 (1969), explicitly establishes that former Members of Congress maintain

standing to challenge congressional actions that threaten personal injury to their

rights and interests. As in Powell, where the Court found standing based on the

plaintiff's claim for back pay even after he had been seated in a subsequent

Congress, Plaintiff here faces concrete personal injury from the Committee's ultra

vires actions that would persist regardless of his current status.
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     This case is fundamentally distinct from cases involving congressional

discipline of sitting members under the Expulsion Clause. In United States v.

Traficant, 677 F.3d 7 (6th Cir. 2012), and Rangel v. Boehner, 20 F. Supp. 3d 148

(D.D.C. 2013), courts declined to review disciplinary actions against sitting

members, citing the political question doctrine and Congress's explicit

constitutional authority to discipline its members. However, the present case does

not challenge any disciplinary action taken while Plaintiff was a member. Rather, it

challenges the Committee's attempt to exercise continued authority over a private

citizen after explicitly acknowledging it lacks jurisdiction over former members.

     Unlike Rangel, where the court found a "demonstrable textual commitment to

another branch of government" regarding discipline of sitting members, this case

presents the opposite scenario - an attempt to exercise authority where the

Committee has explicitly disclaimed jurisdiction. The political question concerns

that animated Traficant and Rangel are entirely absent here, as this case

challenges actions explicitly beyond the Committee's acknowledged jurisdiction

rather than the exercise of legitimate disciplinary authority over sitting members.

     The justiciability of Plaintiff's claims is further supported by Powell's holding

that courts may review congressional actions when they require "no more than an

interpretation of the Constitution." 395 U.S. at 548. The present case presents a

straightforward question of the Committee's constitutional authority to release

potentially defamatory information about a private citizen after acknowledging it

lacks jurisdiction over former members.
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      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) as a

substantial part of the events giving rise to this action occurred in this district.

                                          PARTIES

       Plaintiff Matthew L. Gaetz II is a private citizen and former Member of

Congress.

       Defendants United States House of Representatives Committee on Ethics is a

standing committee of the U.S. House of Representatives. Defendant Michael Guest

is the Chairman of the Committee and is sued in his official capacity.

                               FACTUAL ALLEGATIONS

1.     Plaintiff Matthew Gaetz is a private citizen and former Member of the House

of Representatives. Defendants United States House of Representatives Committee

on Ethics is a standing committee of the U.S. House of Representatives. Defendants

Michael Guest is the Chairman of the Committee and is sued in his official capacity.

2.     Plaintiff is a resident of the State of Florida.

3.     Defendant, United States House of Representatives Committee on Ethics, is

a Federal Governmental body, specifically a committee comprised of congressional

representatives controlled and governed by the Rules of the Committee on Ethics1.

4.     Defendant, Michael Guest, is a resident of the State of Mississippi. He is a

member of the House of Representatives and Chairman of the House Committee on

Ethics.



1

chrome-extension://efaidnbmnnnibpcajpcglcleﬁndmkaj/https://ethics.house.gov/wp-content/uploads/20
24/11/CoE-Adopted-Rules-118th_0.pdf
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5.    On or about April 9, 2021, Defendants first made a public statement

indicating its investigation into Plaintiff, stating:

      The Committee is aware of public allegations that Representative Matt
      Gaetz may have engaged in sexual misconduct and/or illicit drug use,
      shared inappropriate images or videos on the House floor, misused
      state identification records, converted campaign funds to personal use,
      and/or accepted a bribe, improper gratuity, or impermissible gift, in
      violation of House Rules, laws, or other standards of conduct. The
      Committee, pursuant to Committee Rule 18(a), has begun an
      investigation and will gather additional information regarding the
      allegations.

6.    On or about February 15, 2023, the United States Department of Justice

(“DOJ”) advised Plaintiff it was not pursuing criminal charges against him for

allegations of sex trafficking, obstruction of justice, or any other federal charges.

Upon information and belief, the allegations investigated by the DOJ substantially

overlapped with the allegations investigated by the Committee.

7.    On or about May 23, 2023, Defendants notified Plaintiff that it had

reauthorized the investigation for the 118th Congress.

8.    On November 13, 2024, Plaintiff resigned from the 118th Congress after

being publicly nominated to the position of Attorney General by the incoming

President, Donald J. Trump. Upon information and belief, Defendants had not

finalized or completed its investigation into Plaintiff.

9.    Upon information and belief, on December 5, 2024, after Plaintiff resigned

from Congress, Defendants voted to publicly release reports and/or investigation

information related to the Defendants' investigation into Plaintiff as reported

throughout the media. Despite the public media coverage, Defendants published a
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press release on the same date without confirmation of the Defendants' decision to

publicly release information related to the Plaintiff ’s investigation.

10.   At no time has Plaintiff been notified by Defendants of Defendants' intent to

publicly release information related to his investigation.

11.   At no time has Plaintiff been provided copies of any reports or investigative

materials by Defendants. As such, Plaintiff has been afforded no opportunity to

respond to any report or investigative conclusions of Defendants.

12.   Plaintiff has frequently and vehemently declared his innocence regarding the

alleged misconduct, and requested Defendants cease their investigation and provide

him appropriate due process rights. Defendants have been unresponsive to

Plaintiff ’s demands.

13.   On December 22, 2024, Plaintiff first learned of the potential that Defendants

apparently intends to publicly release a report and/or other information related to

Defendants' investigation into Plaintiff through media reports. Despite the media

reports, no notice was provided by Defendants to Plaintiff of its apparent intent to

release said information.

14.   The referenced investigation by Defendants into Plaintiff ’s conduct are

governed by the Rules of the Committee on Ethics, cited in footnote 1, above.

15.   The Committee's own published reports explicitly state that it "loses

jurisdiction over the individual" when a Member who is the subject of an

investigation resigns from Congress. (“Summary of Activities, 117th Congress,
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Report of the Committee on Ethics,” Jan. 2, 2023). This jurisdictional limitation has

been consistently and repeatedly applied by the Committee in recent cases:

      a. In the Matter of Allegations Relating to Representative Steven Palazzo

      (2023), the Committee acknowledged it "will no longer have jurisdiction to

      continue the investigation" after the member left Congress;

      b. Upon Representative Fortenberry's resignation on March 31, 2022, the

      Committee stated it "lost jurisdiction to continue its investigation";

      c. Following Representative Hagedorn's death on February 17, 2022, the

      Committee declared it "lost jurisdiction to continue its investigation";

      d. When Representative Reed resigned on March 10, 2022, the Committee

      immediately confirmed it "lost jurisdiction to continue its investigation";

      e. Upon former-Representative Sample's resignation from the First

      Congressional District of Minnesota on August 9, 2022, the Committee

      similarly stated it "lost jurisdiction to continue its investigation."

16.   This consistent pattern of jurisdictional determinations establishes that the

Committee's position regarding its lack of authority over former members

represents a clear, well-established policy rather than an isolated interpretation.

Despite this clear and repeatedly affirmed jurisdictional bar, the Committee has

announced its intention to release an investigative report concerning Plaintiff

during the upcoming congressional recess.
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17.   On or about May 24, 2024, Plaintiff provided statements to Defendants

regarding the allegations. Those statements, replicated below, are adopted herein as

statements of fact:

      a.    You allege: “Representative Gaetz may have engaged in sexual
      misconduct, including violations federal laws relating to sex trafficking
      and state laws relating to prostitution and statutory rape.”

      b.     This allegation is false. These allegations were investigated by
      the Department of Justice and the investigation was completely
      dropped.    You are eminently aware that this was a thorough
      investigation that exonerated me, because numerous leaks from your
      Committee suggest you are reinterviewing witnesses interviewed by
      DOJ, and you are seeking release of the DOJ case file.

      c.    You allege: “Representative Gaetz may have engaged in illicit
      drug use, including the use or distribution of cocaine and marijuana,
      including in connection with commercial sexual activity.”

      d.     This allegation is false.

      e.    You allege: “Representative Gaetz may have shared
      inappropriate images or videos on the House floor, including videos or
      images of a nude woman.”

      f.     This allegation is false.

      g.     You allege, “Representative Gaetz may have misused state
      identification records, including unauthorized review of Florida driving
      license records and/or obtaining fraudulent or unauthorized
      identification records.”

      h.     This allegation is false.

      i.      You allege: “Representative Gaetz may have converted campaign
      funds to personal use, including expenditures for lodging intended to
      facilitate commercial sexual activity, and/or illicit drug use.”

      j.     This allegation is false. The Federal Election Commission
      investigated allegations of misuse of campaign funds and found them
      baseless. They voted unanimously to hold that there was “no reason to
      believe” that I converted campaign funds to personal use. Not that
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      they just believed my story: there was no evidence to refute it. See
      Attached Exhibit “A.”

      k.     You allege: “Representative Gaetz may have accepted a bribe,
      improper gratuity or impermissible gift, including through
      travel-related expenses in connection with a 2018 trip to the
      Bahamas.”

      l.     This allegation is false. Again, these allegations were
      investigated by the Department of Justice and no charges were
      brought against me. Furthermore, you have received voluminous
      documentary evidence from me, demonstrating the falsity of this
      allegation.

      m.     To my detriment, your Committee, with publicly reported
      Democratic staff at the helm, reopened this apparently endless
      investigation this Congress, without any complaint by anyone. And it
      seems your investigation exists largely as a platform to release
      harmful leaks about me, often falsely implying improper conduct on
      my part. As you know, Rules 18 and 19 of the Committee contemplate
      establishing an Investigative Subcommittee for matters wherein a
      member could be compelled to offer testimony.

      n.     Furthermore, I have written you thirteen times regarding the
      leaks springing from your investigation. See my correspondence
      attached as composite Exhibit “B.” You have failed to stop these leaks,
      remediate them or even slow them down. Thus, I demand that the
      committee address this issue prior to me providing any oral testimony
      to the Committee.

18.   Throughout its investigation, the Committee has systematically denied

Plaintiff fundamental procedural protections required by its own rules, including:

      a. Access to evidence gathered during the investigation;

      b. Meaningful opportunity to present exculpatory evidence;

      c. Ability to subpoena relevant witnesses and documents;

      d. Meaningful opportunity to respond to specific allegations.
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19.   Upon information and belief, Defendants’ intention to release reports and/or

investigatory information related to Plaintiff contains untruthful and defamatory

information concerning Plaintiff, which, if publicly released, would significantly

damage Plaintiff ’s standing and reputation in the community. Once released, the

damage to Plaintiff's reputation and professional standing would be immediate,

severe and irreversible, particularly because: a. The Committee's findings would

carry the imprimatur of official Congressional action; b. Media coverage would be

immediate and widespread; c. The allegations would permanently remain in the

public record; d. No adequate remedy exists to retract or correct information once

released; e. Sovereign immunity would likely bar any subsequent damages action.


                               CLAIMS FOR RELIEF

  COUNT I - VIOLATION OF CONSTITUTIONAL RIGHTS AND ULTRA VIRES
                                ACTION
                 (Fifth Amendment to the U.S. Constitution)

20.   Plaintiff incorporates by reference paragraphs 1-19 above.

21.   As established in Powell v. McCormack, congressional actions that exceed

constitutional authority or violate individual rights are subject to judicial review,

particularly when they require "no more than an interpretation of the Constitution."

395 U.S. at 548.

22.   The Due Process Clause of the Fifth Amendment prohibits the federal

government from depriving individuals of liberty or property interests without

adequate procedural protections.
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23.   The Committee's actions constitute an ultra vires exercise of authority by

attempting to exercise jurisdiction over a private citizen in direct contravention of

its own rules and constitutional limitations.

24.   The Committee's threatened release of potentially defamatory information

without providing basic procedural protections violates Plaintiff's due process rights

and exceeds its constitutional authority.

                 COUNT II - VIOLATION OF THE PRIVACY ACT
                               (5 U.S.C. § 552a)

25.   Plaintiff incorporates by reference paragraphs 1-24 above.

26.   The Privacy Act prohibits federal agencies from disclosing records about

individuals without proper authorization, notice, and procedural safeguards.

27.   The Committee's planned release of investigative findings about Plaintiff

without required authorization, notice, and procedural protections violates the

Privacy Act because of the following deficiencies:

      a.     Failure of Defendant to obtain written consent from Plaintiff;

      b.     Failure to establish information related to Plaintiff is, at this time,

      related to official duties or law enforcement activity;

      c.     Failure to establish a disclosure is mandated by Federal law;

      d.     Failure to establish any other permitted purpose.

                             COUNT III - DEFAMATION
                         (District of Columbia Common Law)

28.   Plaintiff incorporates by reference paragraphs 1-26 above.
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29.   Upon information and belief, the Committee's report contains false and

defamatory statements concerning Plaintiff.

30.   The Committee's release of such statements without providing Plaintiff an

opportunity to review and respond would constitute defamation under District of

Columbia law.

31.   The Committee's actions exceed its constitutional and statutory authority,

removing any claim to absolute immunity.

32.   The anticipated statements and release of information by Defendants is

expected to include reference and make conclusions that Plaintiff engaged in

conduct amounting to “misconduct” or was otherwise unethical. The anticipated

statements and information is false, factually incorrect, and untrue because

Plaintiff did not violate any criminal code or other standard of ethics within the

jurisdiction of Defendants.

33.    Plaintiff will suffer harm to his reputation and standing in the community.

                              PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court:

      A. Issue a temporary restraining order and preliminary injunction
      prohibiting Defendants, their agents, servants, employees, attorneys, and all
      persons in active concert or participation with them, from releasing,
      publishing, or otherwise making public any report, findings, or other
      materials relating to their investigation of Plaintiff;

      B. Set an expedited briefing schedule for full consideration of Plaintiff's
      motion for preliminary injunction;

      C. Order that any temporary restraining order or preliminary injunction
      issue without bond or upon posting of a nominal bond;
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     D. Award Plaintiff his costs and reasonable attorneys' fees; and

     E. Grant such other and further relief as the Court deems just and proper.


Dated: December 23, 2024


                                             Respectfully submitted,




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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

MATTHEW L. GAETZ II                         MOTION FOR TEMPORARY
   Plaintiff                                RESTRAINING ORDER AND
                                            PRELIMINARY INJUNCTION
v.
                                            Civil Action No: 24-cv-3584
UNITED STATES HOUSE OF
REPRESENTATIVES COMMITTEE
ON ETHICS, and MICHAEL GUEST,
in his official capacity as Chairman
of the House Committee on Ethics,
    Defendants.

                     MOTION FOR TEMPORARY RESTRAINING ORDER

       Matthew L. Gaetz II moves for an emergency temporary restraining order

and preliminary injunction as set out below and for the reasons set out in the

accompanying Memorandum and Verified Complaint for Declaratory and Injunctive

Relief. Fed. R. Civ. P. 65(a).

       As set out more fully in the Memorandum Of Law, Plaintiff challenges the

House Ethics Committee's authority to release investigative findings concerning

himself as a private citizen after explicitly acknowledging it lacks jurisdiction over

former members. This represents an unprecedented overreach that threatens

fundamental constitutional rights and established procedural protections along

with violations of the Privacy Act, 5 U.S.C. § 552a.

       The Committee's contemplated action directly contradicts its own published

rules and consistent precedent, as demonstrated in multiple recent cases where the

Committee explicitly stated in its Annual Report that it "lost jurisdiction" upon a

member's departure from Congress, including: Matter of Allegations Relating to
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Representative Steven Palazzo (2023), Representative Fortenberry (March 2022),

Representative Hagedorn (February 2022), Representative Reed (March 2022), and

Mr. Sample (August 2022).

       Plaintiff submits that he meets the standards for a temporary restraining

order, i.e., he has probable success on the merits, he will be irreparably harmed by

the release of potentially defamatory information without due process protections,

others will not be substantially harmed by maintaining the status quo, the public

interest will be served by ensuring congressional committees operate within their

constitutional bounds, and there is no adequate remedy at law for the imminent

violation of constitutional and statutory rights.

       Pursuant to Local Rule of Civil Procedure 7(m), Plaintiff has not conferred

with Defendants for reasons outlined in the attached Declarations.

       Because a preliminary injunction presents no monetary risks to the

Committee, Plaintiff requests that no bond be required, or that bond be set at $1.

Fed. R. Civ. P. 65(c).

       For the reasons stated in the accompanying Memorandum and Complaint,

Plaintiff prays that the Court grant this motion and preliminarily enjoin the

Committee from releasing any investigative findings concerning Plaintiff until a

final hearing on the merits.

       Oral argument is requested on this motion because of the complex

constitutional and jurisdictional issues involved in this case.
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                                      Respectfully submitted,




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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

MATTHEW L. GAETZ II                         ATTORNEY DECLARATION IN
   Plaintiff                                SUPPORT OF TEMPORARY
                                            RESTRAINING ORDER AND
v.                                          PRELIMINARY INJUNCTION

UNITED STATES HOUSE OF
REPRESENTATIVES COMMITTEE Civil Action No: 24-cv-3584
ON ETHICS, and MICHAEL GUEST,
in his official capacity as Chairman
of the House Committee on Ethics,
    Defendants.


                          DECLARATION AS TO TIMING OF
                         REQUEST FOR EMERGENCY RELIEF

I, Jonathan Gross, Esq. hereby declare:

      Plaintiff ’s Application for a Temporary Restraining Order and Preliminary

Injunction is being filed on an emergency basis without prior notice to the opposing

party. The Court should consider this application due to the following exigent

circumstances outside the control of Plaintiff:

      1. As of the time of this filing, defendants have not provided official notice of

their intent to publicly release a House Ethics Committee Report concerning

Plaintiff, a former member of the House of Representatives. House Rules require

one day written notice to a respondent before public release.

      2. On Sunday December 22, 2024, Plaintiff received information through the

media citing unnamed sources who have claimed the Committee intended to release

the report publicly on Monday December 23, 2024. These press reports have not

been confirmed by Defendants or other official sources.
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      3. Given the gravity of harm Plaintiff stands to suffer, an emergency review

by this Court is necessary. Plaintiff has exhausted all known and available remedies

to address the harm prior to filing this action.

                                                Respectfully submitted,


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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

MATTHEW L. GAETZ II                    MEMORANDUM IN SUPPORT OF
   Plaintiff                           MOTION FOR TEMPORARY
                                       RESTRAINING ORDER AND
v.                                     PRELIMINARY INJUNCTION

UNITED STATES HOUSE OF               Civil Action No: 24-cv-3584
REPRESENTATIVES COMMITTEE
ON ETHICS, and MICHAEL GUEST,
in his official capacity as Chairman
of the House Committee on Ethics,
    Defendants.


MEMORANDUM IN SUPPORT OF MOTION FOR TEMPORARY RESTRAINING
            ORDER AND PRELIMINARY INJUCTION


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                                   INTRODUCTION

      This case presents a straightforward question of whether a Congressional

committee may exercise continuing jurisdiction over a private citizen after that

committee has explicitly disclaimed such authority. The House Ethics Committee's

announced intention to release an investigative report concerning Plaintiff, a former

member of Congress, directly contradicts the Committee's own rules stating that it

"loses jurisdiction over the individual" when a Member resigns.

      The Committee's position that it may nonetheless publish potentially

defamatory findings about a private citizen over whom it claims no jurisdiction

represents an unprecedented expansion of Congressional power that threatens

fundamental constitutional rights and established procedural protections.

                        JURISDICTION, STANDING AND VENUE

      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 as

this action arises under the Constitution and laws of the United States.

Plaintiff has standing to bring this action despite his status as a former Member of

Congress. The Supreme Court's decision in Powell v. McCormack, 395 U.S. 486

(1969), explicitly establishes that former Members of Congress maintain standing to

challenge congressional actions that threaten personal injury to their rights and

interests. As in Powell, where the Court found standing based on the plaintiff's

claim for back pay even after he had been seated in a subsequent Congress, Plaintiff

here faces concrete personal injury from the Committee's ultra vires actions that

would persist regardless of his current status.



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           The justiciability of Plaintiff's claims is further supported by Powell's holding

that courts may review congressional actions when they require "no more than an

interpretation of the Constitution." 395 U.S. at 548. The present case similarly

presents a straightforward question of the Committee's constitutional authority to

release potentially defamatory information about a private citizen after

acknowledging it lacks jurisdiction over former members.

           Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) as a

substantial part of the events giving rise to this action occurred in this district.

                                                    FACTS

1.         Plaintiff Matthew Gaetz is a private citizen and former Member of the House

of Representatives. Defendants United States House of Representatives Committee

on Ethics is a standing committee of the U.S. House of Representatives. Defendants

Michael Guest is the Chairman of the Committee and is sued in his official capacity.

2.         Plaintiff is a resident of the State of Florida.

3.         Defendant, United States House of Representatives Committee on Ethics, is

a Federal Governmental body, specifically a committee comprised of congressional

representatives controlled and governed by the Rules of the Committee on Ethics1.

4.         Defendant, Michael Guest, is a resident of the State of Mississippi. He is a

member of the House of Representatives and Chairman of the House Committee on

Ethics.

5.         On or about April 9, 2021, Defendants first made a public statement

indicating its investigation into Plaintiff, stating:

1
    https://ethics.house.gov/wp-content/uploads/2024/11/CoE-Adopted-Rules-118th_0.pdf


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      The Committee is aware of public allegations that Representative Matt
      Gaetz may have engaged in sexual misconduct and/or illicit drug use,
      shared inappropriate images or videos on the House floor, misused
      state identification records, converted campaign funds to personal use,
      and/or accepted a bribe, improper gratuity, or impermissible gift, in
      violation of House Rules, laws, or other standards of conduct. The
      Committee, pursuant to Committee Rule 18(a), has begun an
      investigation and will gather additional information regarding the
      allegations.

6.    On or about February 15, 2023, the United States Department of Justice

(“DOJ”) advised Plaintiff it was not pursuing criminal charges against him for

allegations of sex trafficking, obstruction of justice, or any other federal charges.

Upon information and belief, the allegations investigated by the DOJ substantially

overlapped with the allegations investigated by the Committee.

7.    On or about May 23, 2023, Defendants notified Plaintiff that it had

reauthorized the investigation for the 118th Congress.

8.    On November 13, 2024, Plaintiff resigned from the 118th Congress after

being publicly nominated to the position of Attorney General by the incoming

President, Donald J. Trump. Upon information and belief, Defendants had not

finalized or completed its investigation into Plaintiff.

9.    Upon information and belief, on December 5, 2024, after Plaintiff resigned

from Congress, Defendants voted to publicly release reports and/or investigation

information related to the Defendants' investigation into Plaintiff as reported

throughout the media. Despite the public media coverage, Defendants published a

press release on the same date without confirmation of the Defendants' decision to

publicly release information related to the Plaintiff ’s investigation.




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10.   At no time has Plaintiff been notified by Defendants of Defendants' intent to

publicly release information related to his investigation.

11.   At no time has Plaintiff been provided copies of any reports or investigative

materials by Defendants. As such, Plaintiff has been afforded no opportunity to

respond to any report or investigative conclusions of Defendants.

12.   Plaintiff has frequently and vehemently declared his innocence regarding the

alleged misconduct, and requested Defendants cease their investigation and provide

him appropriate due process rights. Attachment 5. Defendants have been

unresponsive to Plaintiff ’s demands.

13.   On December 22, 2024, Plaintiff first learned of the potential that Defendants

apparently intends to publicly release a report and/or other information related to

Defendants' investigation into Plaintiff through media reports. Despite the media

reports, no notice was provided by Defendants to Plaintiff of its apparent intent to

release said information.

14.   The referenced investigation by Defendants into Plaintiff ’s conduct are

governed by the Rules of the Committee on Ethics, cited in footnote 1, above.

15.   The Committee's own published reports explicitly state that it "loses

jurisdiction over the individual" when a Member who is the subject of an

investigation resigns from Congress. (“Summary of Activities, 117th Congress,

Report of the Committee on Ethics,” Jan. 2, 2023). This jurisdictional limitation has

been consistently and repeatedly applied by the Committee in recent cases:




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      a. In the Matter of Allegations Relating to Representative Steven Palazzo

      (2023), the Committee acknowledged it "will no longer have jurisdiction to

      continue the investigation" after the member left Congress;

      b. Upon Representative Fortenberry's resignation on March 31, 2022, the

      Committee stated it "lost jurisdiction to continue its investigation";

      c. Following Representative Hagedorn's death on February 17, 2022, the

      Committee declared it "lost jurisdiction to continue its investigation";

      d. When Representative Reed resigned on March 10, 2022, the Committee

      immediately confirmed it "lost jurisdiction to continue its investigation";

      e. Upon former-Representative Sample's resignation from the First

      Congressional District of Minnesota on August 9, 2022, the Committee

      similarly stated it "lost jurisdiction to continue its investigation."

16.   This consistent pattern of jurisdictional determinations establishes that the

Committee's position regarding its lack of authority over former members

represents a clear, well-established policy rather than an isolated interpretation.

Despite this clear and repeatedly affirmed jurisdictional bar, the Committee has

announced its intention to release an investigative report concerning Plaintiff

during the upcoming congressional recess.

17.   On or about May 24, 2024, Plaintiff provided statements to Defendants

regarding the allegations. Those statements, replicated below, are adopted herein as

statements of fact:

                a. You allege: “Representative Gaetz may have engaged in
                   sexual misconduct, including violations federal laws



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            relating to sex trafficking and state laws relating to
            prostitution and statutory rape.”

         b. This allegation is false.      These allegations were
            investigated by the Department of Justice and the
            investigation was completely dropped. You are eminently
            aware that this was a thorough investigation that
            exonerated me, because numerous leaks from your
            Committee suggest you are reinterviewing witnesses
            interviewed by DOJ, and you are seeking release of the
            DOJ case file.

         c. You allege: “Representative Gaetz may have engaged in
            illicit drug use, including the use or distribution of cocaine
            and marijuana, including in connection with commercial
            sexual activity.”

         d. This allegation is false.

         e. You allege: “Representative Gaetz may have shared
            inappropriate images or videos on the House floor,
            including videos or images of a nude woman.”

         f. This allegation is false.

         g. You allege, “Representative Gaetz may have misused
            state identification records, including unauthorized
            review of Florida driving license records and/or obtaining
            fraudulent or unauthorized identification records.”

         h. This allegation is false.

         i. You allege: “Representative Gaetz may have converted
            campaign funds to personal use, including expenditures
            for lodging intended to facilitate commercial sexual
            activity, and/or illicit drug use.”

         j. This allegation is false. The Federal Election Commission
            investigated allegations of misuse of campaign funds and
            found them baseless. They voted unanimously to hold
            that there was “no reason to believe” that I converted
            campaign funds to personal use. Not that they just
            believed my story: there was no evidence to refute it. See
            Attached Exhibit “A.”



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                k. You allege: “Representative Gaetz may have accepted a
                   bribe, improper gratuity or impermissible gift, including
                   through travel-related expenses in connection with a 2018
                   trip to the Bahamas.”

                l. This allegation is false. Again, these allegations were
                   investigated by the Department of Justice and no charges
                   were brought against me.          Furthermore, you have
                   received voluminous documentary evidence from me,
                   demonstrating the falsity of this allegation.

                m. To my detriment, your Committee, with publicly reported
                   Democratic staff at the helm, reopened this apparently
                   endless investigation this Congress, without any
                   complaint by anyone. And it seems your investigation
                   exists largely as a platform to release harmful leaks about
                   me, often falsely implying improper conduct on my part.
                   As you know, Rules 18 and 19 of the Committee
                   contemplate establishing an Investigative Subcommittee
                   for matters wherein a member could be compelled to offer
                   testimony.

                n. Furthermore, I have written you thirteen times regarding
                   the leaks springing from your investigation. See my
                   correspondence attached as composite Exhibit “B.” You
                   have failed to stop these leaks, remediate them or even
                   slow them down. Thus, I demand that the committee
                   address this issue prior to me providing any oral
                   testimony to the Committee.

18.   Throughout its investigation, the Committee has systematically denied

Plaintiff fundamental procedural protections required by its own rules, including:

      a. Access to evidence gathered during the investigation;

      b. Meaningful opportunity to present exculpatory evidence;

      c. Ability to subpoena relevant witnesses and documents;

      d. Meaningful opportunity to respond to specific allegations.




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19.   Upon information and belief, Defendants’ intention to release reports and/or

investigatory information related to Plaintiff contains untruthful and defamatory

information concerning Plaintiff, which, if publicly released, would significantly

damage Plaintiff ’s standing and reputation in the community. Once released, the

damage to Plaintiff's reputation and professional standing would be immediate,

severe and irreversible, particularly because: a. The Committee's findings would

carry the imprimatur of official Congressional action; b. Media coverage would be

immediate and widespread; c. The allegations would permanently remain in the

public record; d. No adequate remedy exists to retract or correct information once

released; e. Sovereign immunity would likely bar any subsequent damages action.


                                     ARGUMENT

      Four factors govern preliminary injunctive relief: (1) a substantial likelihood

of success on the merits, (2) that irreparable injury will result without the

injunction, (3) that an injunction will not substantially injure other interested

parties, and (4) that the public interest would be furthered by the injunction.

Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006).

        I. PLAINTIFF HAS A SUBSTANTIAL LIKELIHOOD OF SUCCESS ON THE MERITS

          A. THE COMMITTEE LACKS JURISDICTION OVER FORMER MEMBERS

      The Committee's jurisdictional limitation is not merely procedural but

substantive - it represents the complete cessation of authority to take any action

affecting the former member's rights and interests. This includes the authority to

release reports or findings, regardless of when such materials were prepared.



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The Committee's own rules and procedures establish an integrated framework of

rights, obligations, and protections that govern both the investigation process and

the public release of findings. These procedures explicitly recognize that the public

release of investigative findings constitutes an exercise of the Committee's

authority that can significantly impact the subject's rights and interests.

      When the Committee loses jurisdiction over an individual, it loses all

authority to subject that person to any aspect of its rules and procedures - including

those governing the public release of potentially damaging information. The

Committee cannot selectively retain certain aspects of its authority while

disclaiming jurisdiction over the individual.

      This interpretation is supported by fundamental principles of administrative

law establishing that an agency or committee's authority to act is binary - it either

has jurisdiction over a matter or it does not. There is no middle ground where the

Committee can claim to lack jurisdiction over an individual while simultaneously

asserting authority to take actions affecting that person's rights and interests.

      The involvement of this Honorable Court is necessary to ensure Defendants

discontinue their pursuit of ethics investigations, preparation of reports, and

publication of related materials to the public. Defendants have already continued to

pursue this action without regard for their own rules and precedent prohibiting

such action under the circumstances. Plaintiff has a substantial likelihood of

success on the merits because Defendants have repeatedly flaunted their lack of

jurisdiction over Plaintiff after his resignation from the 118th House of




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Representatives by continuing to conduct activity and business concerning Plaintiff

without appropriate cause and in violation of their rules and precedent.

            B. RELEASE OF REPORT WOULD VIOLATE DUE PROCESS RIGHTS

      The Due Process Clause of the Fifth Amendment prohibits the federal

government from depriving individuals of liberty or property interests without

adequate procedural protections. The Committee's threatened release of potentially

defamatory information without providing basic procedural protections violates

these constitutional guarantees.

      The Supreme Court's decision in Powell v. McCormack explicitly establishes

that former Members of Congress maintain standing to challenge congressional

actions that threaten personal injury to their rights and interests. As in Powell,

where the Court found standing based on the plaintiff's claim for back pay even

after he had been seated in a subsequent Congress, Plaintiff here faces concrete

personal injury from the Committee's ultra vires actions that would persist

regardless of his current status.

      The involvement of this Honorable Court is necessary to ensure Defendants

adhere to the strict rules and procedures set forth in its governing documents,

specifically, the Rules of the Committee on Ethics, and constitutional notions of due

process. Plaintiff has a substantial likelihood of of success on the merits because

Defendants have violated the rules within the Rules of the Committee on Ethics

governing public disclosure, to include, but not limited to:

      Rule 7(e), which provides that: “A Statement of Alleged Violation and
      any written response thereto shall be made public at the first meeting



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      or hearing on the matter that is open to the public after the respondent
      has been given full opportunity to respond pursuant to Rule 22. Any
      other materials in the possession of the Committee regarding such
      statement may be made public as authorized by the Committee to the
      extent consistent with the Rules of the House of Representatives. If no
      public hearing is held on the matter, the Statement of Alleged
      Violation and any written response thereto shall be included in the
      Committee’s final report on the matter to the House of
      Representatives.

      Rule 17A(b)(2), which provides that: “At least one calendar day before
      the Committee makes public any report and findings of the Board, the
      Chair shall notify in writing the Board and the Member, officer, or
      employee who is the subject of the referral of the impending public
      release of these documents. At the same time, the Chair shall
      transmit a copy of any public statement on the Committee’s disposition
      of the matter and any accompanying Committee report to the
      individual who is the subject of the referral.

       II. PLAINTIFF WILL SUFFER IRREPARABLE INJURY WITHOUT THE INJUNCTION

      The threatened release of information believed to be defamatory by a

Congressional committee concerning matters of sexual propriety and other acts of

alleged moral turpitude constitutes irreparable harm that cannot be adequately

remedied through monetary damages. Once the report is released, the damage to

Plaintiff's reputation and professional standing would be immediate and severe.

Courts have consistently recognized that damage to reputation, particularly when

inflicted by governmental action, constitutes irreparable injury for purposes of

preliminary injunctive relief. The D.C. Circuit has specifically held that where First

Amendment and reputational interests are at stake, the harm is "both certain and

great" and "actual and not theoretical." Chaplaincy of Full Gospel Churches, 454

F.3d at 301.

   The harm here is particularly acute because:



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   1. The Committee's findings would carry the imprimatur of official

      Congressional action;

   2. Media coverage would be immediate and widespread;

   3. The allegations would permanently remain in the public record;

   4. No adequate remedy exists to retract or correct information once released;

   5. Sovereign immunity would likely bar any subsequent damages action.

   Plaintiff has a substantial likelihood of success on the merits because the

matters expected to be made public are false and would cause irreparable harm to

Plaintiff. Defendants have violated the rules within the Rules of the Committee on

Ethics governing public disclosure, to include, but not limited toThese factors

demonstrate that absent preliminary relief, Plaintiff faces precisely the sort of

irreparable injury that preliminary injunctions are designed to prevent.

    C. RELEASE OF REPORT WOULD VIOLATE THE PRIVACY ACT (5 U.S.C. § 552a)

      The Privacy Act, 5 U.S.C. § 552a prohibits federal agencies from disclosing

records about individuals without proper authorization, notice, and procedural

safeguards.

      The Committee's planned release of investigative findings about Plaintiff

without required authorization, notice, and procedural protections violates the

Privacy Act because of the following deficiencies:

      a.      Failure of Defendant to obtain written consent from Plaintiff;

      b.      Failure to establish information related to Plaintiff is, at this time,

      related to official duties or law enforcement activity;




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      c.     Failure to establish a disclosure is mandated by Federal law;

      d.     Failure to establish any other permitted purpose.

      Plaintiff has a substantial likelihood of success on the merits because as a

private citizen, Defendants have established no legitimate basis for release of

private information related to the Plaintiff consistent with The Privacy Act.

   III. The Injunction Will Not Substantially Injure Other Interested
   Parties

   The Committee will suffer no cognizable injury from an injunction temporarily

preventing publication of its report. While the Committee may assert a general

interest in carrying out its investigative functions, this interest cannot extend

beyond its jurisdictional boundaries. As the Committee itself has repeatedly

acknowledged, it has no continuing authority over former members.

Any claim of injury to the Committee's investigative or oversight function is

particularly weak here because:

   1. The Committee has already explicitly disclaimed jurisdiction over former

      members;

   2. A temporary delay in publication pending resolution of jurisdictional issues

      poses no meaningful harm to Committee operations;

   3. The Committee retains full authority to investigate and discipline current

      members;

   4. The Committee's own rules and precedents recognize that jurisdiction ceases

      upon a member's departure.




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   The D.C. Circuit has consistently held that federal agencies "cannot suffer harm

from an injunction that merely ends an unlawful practice." R.I.L-R v. Johnson, 80 F.

Supp. 3d 164, 191 (D.D.C. 2015). This principle applies with even greater force

where, as here, the Committee itself has declared it lacks jurisdiction to act.

            IV. THE PUBLIC INTEREST FAVORS GRANTING THE INJUNCTION

      The public interest strongly favors preliminary relief to maintain the status

quo while the Court considers these significant constitutional and jurisdictional

questions. Several factors demonstrate why an injunction serves the public interest:

First, the public has a fundamental interest in ensuring that congressional

committees operate within their constitutional and jurisdictional boundaries. As the

United States Court of Appeals for the District of Columbia has recognized, the

public interest is served by ensuring that governmental bodies comply with the law,

and particularly with the Constitution. League of Women Voters v. Newby, 838 F.3d

1, 12 (D.C. Cir. 2016).

      Second, allowing the Committee to exceed its jurisdiction would set a

dangerous precedent whereby congressional committees could continue to exercise

authority over private citizens long after the basis for that authority has ceased.

This would fundamentally alter the relationship between Congress and private

citizens in ways that threaten individual liberty.

      Third, the public interest is served by ensuring that procedural protections

are meaningfully enforced. The Committee's own rules establishing jurisdictional




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limits and procedural safeguards serve important public purposes that would be

undermined if the Committee could simply ignore these constraints.

      Fourth, temporarily maintaining the status quo while the Court considers

these important issues poses no meaningful harm to any public interest. The public

will not be deprived of any information to which it is legally entitled; at most,

release of the Committee's report would be briefly delayed pending judicial review.

Finally, the public interest is particularly strong here because this case presents

novel questions about the scope of congressional committee jurisdiction over private

citizens. Allowing time for careful judicial consideration of these issues serves the

public's interest in constitutional governance and the rule of law.

                                 PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully requests that this Court:

      A. Issue a temporary restraining order and preliminary injunction
      prohibiting Defendants, their agents, servants, employees, attorneys, and all
      persons in active concert or participation with them, from releasing,
      publishing, or otherwise making public any report, findings, or other
      materials relating to their investigation of Plaintiff;

      B. Set an expedited briefing schedule for full consideration of Plaintiff's
      motion for preliminary injunction;

      C. Order that any temporary restraining order or preliminary injunction
      issue without bond or upon posting of a nominal bond;

      D. Grant such other and further relief as this Court deems just and proper.

Dated: December 23, 2024

                                                Respectfully submitted,

                                                LOCAL COUNSEL




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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

MATTHEW L. GAETZ II                         [PLAINTIFFS’ PROPOSED] ORDER
   Plaintiff                                GRANTING PLAINTIFFS’ MOTION
                                            FOR TEMPORARY RESTRAINING
v.                                          ORDER AND PRELIMINARY
                                            INJUNCTION
UNITED STATES HOUSE OF
REPRESENTATIVES COMMITTEE
ON ETHICS, and MICHAEL GUEST, Civil Action No: 24-cv-3584
in his official capacity as Chairman
of the House Committee on Ethics,
     Defendants.


[PLAINTIFFS’ PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR
TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION

      Having fully considered Plaintiff ’s Motion for a Temporary Restraining Order

and Preliminary Injunction, the Court finds that Plaintiff has demonstrated good

cause for the Court to issue a Temporary Restraining Order and Preliminary

Injunction, as Plaintiff has shown both a substantial likelihood of success on the

merits and he that he will suffer immediate and irreparable harm from Defendant’s

conduct absent immediate injunctive relief. The Court also finds that the balance of

equities favors Plaintiff, and that the public interest will be served by this Order

      This Temporary Restraining Order is issued without notice because (1)

Plaintiff has established that he will suffer immediate and irreparable harm to his

due process rights and rights protected by the Privacy Act, and (2) the timing of

Defendant’s proposed action without official notice to Plaintiff deprived Plaintiff of a

meaningful opportunity to provide notice to Defendants.
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     Thus, the Court hereby ORDERS that:

  1. Defendants, and their employees, agents, servants, officers and persons in

     concert with Defendants, are enjoined from publicly releasing the House

     Ethics Committee Report concerning Plaintiff.

  2. Pursuant to Federal Rule of Civil Procedure 65(c), Plaintiffs are not required

     to post bond for this temporary restraining order.

  3. Plaintiff shall make every reasonable effort to provide Defendant with notice

     of this Order.

  4. The Temporary Restraining Order expires on _________, absent a showing of

     good cause why the Court should extend it or Defendants’ consent.

  5. A hearing on Plaintiffs’ motion for a preliminary injunction will be held on

     ____________ at _______________. Defendants shall file any opposition no

     later than ___________________, and Plaintiff may file a reply no later than

     ___________.


IT IS SO ORDERED.

DATED: ___________


                                              ______________________________
                                              United States District Judge
